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                                   Case No. 23-3565/23-3566

                        UNITED STATES COURT OF APPEALS
                             FOR THE SIXTH CIRCUIT

                                           ORDER

UNITED STATES OF AMERICA,

           Plaintiff – Appellee,

v.

LARRY HOUSEHOLDER (23-3565); MATTHEW BORGES (23-3566),

           Defendants – Appellants.



      UPON SUA SPONTE CONSIDERATION,

      It is ORDERED that cases 23-3565 (United States v. Householder) and 23-3566 (United

States v. Borges) are CONSOLIDATED for submission.


                                               ENTERED PURSUANT TO RULE 45(a),
                                               RULES OF THE SIXTH CIRCUIT
                                               Kelly L. Stephens, Clerk


Issued: November 27, 2024
